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                             UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF MISSOURI
                                   EASTERN DIVISION

UNITED STATES OF AMERICA                       )
                                               )
         Plaintiff,                            )
                                               )       Cause No. 4:18-CR-975-CDP
v.                                             )
                                               )
DUSTIN BOONE,                                  )
RANDY HAYS,                                    )
CHRISTOPHER MYERS, and                         )
BAILEY COLLETTA                                )
                                               )
         Defendants.                           )


           DEFENDANTS’ UNOPPOSED JOINT MOTION FOR CONTINUANCE

         COME NOW, Defendants Dustin Boone, Randy Hays, Christopher Myers, and Bailey

Colletta (hereinafter “Defendants”), by and through counsel, and, for their Joint Motion for

Continuance, state as follows:

         1.      On June 24, 2019, this cause was set for jury trial on August 19, 2019.

         2.      Counsel for all Defendants have previously scheduled trials and hearings in other

matters that will prevent them from adequately preparing for what is anticipated to be a lengthy

trial.

         3.      In addition, the government has discovery that must be reviewed at its office that

some Defendants have not yet inspected. This discovery may prove relevant to the defenses of

several defendants on one or more counts.

         4.      Defendants, through counsel, are in contact with the government to arrange for

dates to review this material.




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       5.      Co-Counsel for Bailey Colletta recently had a surgical procedure on June 20,

2019, and he has been, and will be undergoing rehabilitation therapy for an estimated period of

six to eight weeks during which time he will be on a limited work schedule.

       6.      This is the Defendants’ first request for a continuance.

       7.       Counsel for the Government does not oppose this motion.

       8.      The motion is filed in good faith and is not designed to unnecessarily delay this

proceeding.

       WHEREFORE, Defendants Dustin Boone, Randy Hays, Christopher Myers, and Bailey

Colletta respectfully request that the Court grant their Joint Motion for Continuance and further

request that the Court set a scheduling conference with counsel for all parties.



                                                      Respectfully submitted:


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                               CERTIFICATE OF SERVICE

       I hereby certify that on the 12th day of July, 2019, a copy of the foregoing
DEFENDANTS’ JOINT MOTION FOR CONTINUANCE was filed electronically with the
Clerk of the Court in the United States District Court, Eastern District of Missouri, Eastern
Division and to be served by the operation of the Court’s electronic filing system upon all
attorneys of record.
                                               _/s/ Brian P. Millikan____




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